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               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MERRY REED, et al.                   :              CIVIL ACTION
                                     :
          v.                         :
                                     :
ARRAIGNMENT COURT MAGISTRATE         :              NO. 19-3110
JUDGES, et al.                       :

                                  ORDER

          AND NOW, this    13th   day of November, 2019, after oral

argument, it is hereby ORDERED that the Motion of Defendant

Jewell Williams to Dismiss the Complaint under Rule 12(b)(6) of

the Federal Rules of Civil Procedure (Doc. # 16) is DENIED

without prejudice.


                                          BY THE COURT:



                                          /s/ Harvey Bartle III
                                                                     J.
